     Case 2:04-cr-00074-RCJ-GWF     Document 377       Filed 08/23/11   Page 1 of 1




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 5                         UNITED STATES DISTRICT COURT
 6                                DISTRICT OF NEVADA
 7                                          ***
 8   UNITED STATES OF AMERICA,              )         2:04-CR-00074-PMP-LRL
                                            )
 9                  Plaintiff,              )
                                            )                 ORDER
10   vs.                                    )
                                            )
11   DEMARCUS BURSE,                        )
                                            )
12                  Defendant.              )
                                            )
13

14            IT IS ORDERED that the Government shall respond to Defendant
15   Demarcus Burse’s Motion for Clarification and/or Amended Judgment of Conviction
16   (Doc. #376) filed July 29, 2011, on or before September 14, 2011.
17

18   DATED: August 23, 2011.
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                                                PHILIP M. PRO
21                                              United States District Judge
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